                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION
                                No. 7:23-CV-897

  IN RE:                                              )
  CAMP LEJEUNE WATER LITIGATION                       )
                                                      ) UNITED STATES’ MOTION TO
                                                      ) STRIKE JURY TRIAL DEMAND
  This Document Relates To:                           )
  ALL CASES                                           )
                                                      )

       Pursuant to Federal Rule of Civil Procedure 39(a)(2), Defendant United States of

America moves to strike the jury trial demand in Plaintiffs’ Master Complaint [Dkt. 25]. “[A]

plaintiff in an action against the United States has a right to trial by jury only where Congress has

affirmatively and unambiguously granted that right by statute.” Lehman v. Nakshian, 453 U.S.

156, 168 (1981). The Camp Lejeune Justice Act of 2022 (“CLJA”), Pub. L. No. 117-168, § 804,

136 Stat. 1802, 1802-04 (2022), which simply provides for “appropriate relief” and states that

“[n]othing in this subsection shall impair the right of any party to a trial by jury,” id. § 804(d),

fails to affirmatively and unambiguously grant a right to a jury trial against the United States.

Accordingly, the CLJA does not permit jury trials against the United States, and the Court should

strike the jury trial demand in Plaintiffs’ Master Complaint.

       In support of this Motion to Strike, the United States submits and relies upon its

accompanying Memorandum in Support.




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Dated: November 20, 2023                     Respectfully Submitted
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                                CERTIFICATE OF SERVICE
       I hereby certify that on November 20, 2023, a copy of the foregoing document was

served on all counsel of record by operation of the court’s electronic filing system and can be

accessed through that system.


                                             /s/ Haroon Anwar
                                             HAROON ANWAR




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